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            STATE OF WISCONSIN
            DEPARTMENT OF JUSTICE
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                                       February 12, 2024

     Via ECF

     Hon. Elizabeth A. Wolford
     Chief United States District Judge
     Kenneth B. Keating Federal Building
     100 State Street
     Rochester, New York 14614

                   Re:   Consumer Financial Protection Bureau, et al. v. StratFS, LLC, et
                         al., Case No. 24-CV-00040-EAW-MJR

     Dear Judge Wolford:

            I am counsel for Plaintiff State of Wisconsin in this matter. Pursuant to the
     Court’s February 5, 2024, text order (Doc. 145), I respectfully request leave to appear
     by telephone at the status conference currently scheduled for February 13, 2024, at
     10:30 a.m.

            Thank you for your consideration.
     .
                                             Sincerely,

                                             /s/Lewis W. Beilin

                                             Lewis W. Beilin
                                             Assistant Attorney General
